     Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 1 of 23 PageID 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                     Orlando Division

                   Case Number:

     LYNNE M. GIBSON, Ph.D.,
     f/k/a Lynne M. Gleiber,

                Plaintiff,

     vs.

     JETBLUE AIRWAYS CORP.,

                Defendant.
                                          /

     Complaint for Damages and Injunctive Relief — Jury Trial Demanded

                  Count I — Age Discrimination Under the ADEA

           Plaintiff, Lynne M. Gibson, Ph.D., f/k/a Lynne M. Gleiber, sues

     defendant, JetBlue Airways Corp., and as grounds shows:

                                      Introduction

           1.    This is an age- and race-discrimination action brought pursuant

     to the Age Discrimination in Employment Act, 29 U.S.C. § 621, et seq.

     (“ADEA”), Florida Civil Rights Act, §§ 760.01, et seq., FLA. STAT. (“FCRA”),

     42 U.S.C. §§ 1981 and 1988(b), by Lynne M. Gibson, Ph.D., a 52-year-old,

     African-American senior analyst whom JetBlue:




aa
pa   The Amlong Firm ! 500 Northeast Fourth Street !   Fort Lauderdale, FL 33301   !   954.462.1983
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 2 of 23 PageID 2



      One, hired as a supervisor, but never permitted her to supervise the

substantially younger, all-white stable of analysts working at its training

center, JetBlue University, in Orlando;

      Two, gave assignments with vague instructions, missing data and

inappropriate analytical tools, and then complained about the results—which,

despite the disadvantages, were exactly what she had been asked to

produce;

      Three, subjected to a hostile-environment by such things as

threatening to fire her if she would not resign; not allowing her to work from

home as it did younger, white analysts; giving her make-work assignments,

and demanding that she turn in work-in-progress which her supervisor could

then criticize as incomplete, and

      Four, firing her and replacing her with a substantially younger white

woman.

      Dr. Gibson seeks all the relief available under the Age Discrimination in

Employment Act, 42 U.S.C. § 1981 and the Florida Civil Rights Act of 1992,

including attorney’s fees and litigation expenses.

                        Jurisdiction, Parties, Venue

      2.    This court has jurisdiction pursuant 28 U.S.C. §§ 1331 (federal

question). The court has supplemental jurisdiction to determine the state

claims pursuant to 28 U.S.C. § 1367.

      3.    Venue is proper in the Middle District of Florida pursuant to 28



                                                                   Page 2 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 3 of 23 PageID 3



U.S.C. § 1391(b) because the claims arose there and the defendant is

subject to personal jurisdiction there.

      4.    At all material times, plaintiff Lynne M. Gibson, Ph.D., was

protected by the ADEA, and the FCRA because she was over forty years of

age. She was an “employee” as contemplated by the ADEA and by the

FCRA. She is protected from racial discrimination in employment by 42

U.S.C. § 1981.

      5.    At all times material, defendant JetBlue Airways Corp.

(“JetBlue”) was:

            a.     an “employer” as contemplated by both the ADEA and

FCRA, and

            b.     a party with whom Dr. Gibson enjoyed contractual rights,

as contemplated by § 1981.

                   Satisfaction of Conditions Precedent

      6.    Dr. Gibson, on or about November 13, 2015, filed a Charge of

Discrimination with the Equal Employment Opportunity Commission

(“EEOC”) pursuant to the ADEA, which also satisfied the filing requirements

and perfected his rights under the FCRA: the charge alleged that Therese

Schmidt, the manager of Assessment, Measurement & Evaluation (“AME”)

for JetBlue in Orlando told Dr. Gibson October 23, 2015 that she wanted Dr.

Gibson to resign and that Dr. Gibson did not do so, JetBlue would fire




                                                                  Page 3 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 4 of 23 PageID 4



her—which it did January 26, 2016, of which Dr. Gibson informed the EEOC

investigator handling her case.

      7.    The EEOC issued Dr. Gibson a Notice of Right to Sue July 16,

2018, within 90 days of which Dr. Gibson is filing suit.

      8.    The Florida Commission on Human Relations (“FCHR”) deferred

its handling of the case to the EEOC without either conciliating or making a

finding adverse to Dr. Gibson within 180 days of the filing of the Charge of

Discrimination, which failure to act satisfies Dr. Gibson’s exhaustion-of-

administrative-remedies requirement and entitles her to maintain a civil

action.

                            General Allegations

      9.    JetBlue hired Dr. Gibson on or about June 24, 2015 as a Senior

Analyst, Assessment and Evaluation to work on the Assessment,

Measurement, & Evaluation (“AME”) team at JetBlue University, the

company’s training facility in Orlando, Florida.

      10.   Dr. Gibson demonstrated her qualifications for the job:

            a.    through a series of interviews culminating in an in-person

interview with Therese Schmidt, the 30-something AME manager, and

Jennifer Carlson, the 28-year-old Supervisor of Learning Analytics, during

which she successfully completed an assessment in which she was required

to demonstrate both:




                                                                  Page 4 of 23
 Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 5 of 23 PageID 5



                   i.    advanced analytic skills using data presented in

Excel and analyzed using the Statistical Package for the Social Sciences

(SPSS), and

                   ii.   knowledge of advanced analytics and teaching

abilities that encouraged student engagement;

            b.     by a history of having published as a political scientist

work based on advanced analytic abilities, i.e., Surges and Declines in

United States Social Policy; An analysis of support for social policy bills in the

U.S. House of Representatives from 1972-2002, ISBN: 978-3-639-21442-Q,

and

            c.     by having previously used her advanced Excel skills to

create for a prior employer, Tulane University, a calculation/learning tool,

i.e., a Federal work-study calculator, that remains in use today.

      11.   During Dr. Gibson’s initial 90 days of JetBlue employment, she

was assigned to (and completed without any articulated dissatisfaction with

her performance):

            a.     the leadership and planning for the JetBlue Insight

Network (“JIN”);

            b.     planning the monthly JIN conference calls amongst

analysts and senior analysts that included presentations by one of the

participants;

            c.     bringing an intern on board and supervising her, and



                                                                    Page 5 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 6 of 23 PageID 6



              d.   writing content for the AME Certification program and

delivering one of the course offerings.

        12.   Those assignments were consistent with what Ms. Schmidt told

Dr. Gibson during her orientation, i.e., that Dr. Gibson would not be doing

any analyses herself, but rather would be supervising three analysts on the

team—even though Dr. Gibson was never assigned to supervise anyone.

        13.   The only flaw in Dr. Gibson’s evaluation discussed at her 90-day

evaluation September 22 was the omission of two attendees’ names on the

list for the JIN Summit.

        14.   Although JetBlue stated in a position statement to the EEOC

that:

              a.   “As a Senior Analyst on the AME team, [Dr.] Gibson was

responsible for reviewing and analyzing performance metrics, reporting on

such data and making recommendations based on trends identified in the

data”;

              b.   “[Dr.] Gibson’s performance problems became apparent

shortly after she commenced employment,” and

              c.   “Generally, Ms. Schmidt observed that [Dr.] Gibson was

not demonstrating the type of advanced analytical and critical thinking skills

which a Senior Analyst should possess,”

Dr. Gibson had not been assigned any such tasks prior to the October 2,

2015 meeting.



                                                                  Page 6 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 7 of 23 PageID 7



      15.   Nonetheless, a community-service project that Dr. Gibson had

begun working on between late August and early September was taken

away from her and assigned to a 26-year-old analyst, Lauren Kramer.

      16.   JetBlue’s position statement also accused Dr. Gibson of turning

in sloppy work product on or about October 20, i.e., a “Key Driver Analysis

Assignment Summary and Review” that JetBlue characterized as “plainly

unacceptable” as a result of Dr. Gibson’s “fail[ure] to follow Ms. Schmidt's

specific instructions,” having engaged in “analyses [that] were incomplete

and/or flawed,” and exhibiting “a significant lack of attention to detail,” and

betraying that Dr. Gibson “appeared to lack advanced data visualization

skills and a lack of knowledge of Microsoft Excel.”

      17.   The assignment was given solely to Dr. Gibson, even though Ms.

Schmidt had Dr. Gibson meet with Ms. Carlson about doing the project

together.

      18.   Dr. Gibson, who had been told that she would be supervising

analyses, not performing them, later learned Ms. Schmidt gave her the

assignment not so much as a job to be done, but rather as a test of Dr.

Gibson’s data analysis skills, which had already been tested during her pre-

hiring interview.

      19.   The assignment was to “conduct one JBU analysis by [close of

business October 19],” concerning which Ms. Schmidt elaborated:




                                                                   Page 7 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 8 of 23 PageID 8



      For this analysis (which we'll finalize in the meeting today), I'd like to
      see the following:

      •     An executive summary report that utilizes the template found
            here:

            https://sites.JetBlue.com/sites/jbu/LTSTeam/AME/Shared%20Do
            cuments/Customers/Projects/DataintoActionProcess/Context
            Driven Analysis_Ternplate.docx

      •     A more detailed report that describes your analyses in detail.
            You can format that however you'd like, but it should include
            your research question(s), rationale for statistical test(s)
            chosen,details about any assumptions made and your rationale
            for making them, results, and implications

      •     Create at least one of the included charts in Excel

      Please let me know if you have any questions.

      20.   JetBlue’s representation to the EEOC ignores:

            a.    An acknowledgment by Robin King, the Regional Manager

of Crew Relations, i.e., human resources, that she had reviewed Ms.

Schmidt’s instructions and found them lacking;

            b.    Dr. Gibson’s having told Ms. Schmidt prior to doing the

analysis what kind of methodology she would using for the assignment;

            c.    Dr. Gibson’s having provided Ms. Schmidt with not only the

Excel chart that she requested, but two;

            d.    Ms. Schmidt’s having said “no” during the planning

meeting at which Dr. Gibson asked her if there was anything in particular

that she wanted included in the initial analysis—but criticizing Dr. Gibson for

not including a separate follow-up on individual instructors;



                                                                   Page 8 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 9 of 23 PageID 9



            e.   Dr. Gibson’s having timely delivered an analysis that

addressed each issue that Ms. Schmidt included in her instructions;

            f.   Ms. Schmidt’s not having told Dr. Gibson that she would

need student grade sheets to meaningfully interpret the data, about which

Dr. Gibson learned from a flight instructor and obtained the grade sheets

through a co-worker, and

            g.   Ms. Schmidt’s having given Dr. Gibson a Statistical

Package for the Social Sciences (SPSS) to use in performing the analysis

that lacked the logistic regression command that Dr. Gibson needed to

produce the key driver analysis that Ms. Schmidt complained after the fact

that Dr. Gibson had not provided—of the absence of which logistic regression

command:

                 i.    Ms. Schmidt was ignorant when she handed Dr.

Gibson the assignment and the SPSS computer package with which to

perform it, or

                 ii.   Ms. Schmidt was aware of, but gave Dr. Gibson a

tool to accomplish something that that tool would not produce.

      21.   A few days later, Dr. Gibson learned that Ms. King had surveyed

the junior analysts in the department, gathering from them what she said

was a unanimous opinion that Dr. Gibson’s Excel skills were not up to par—

even through Excel research techniques is a component of an undergraduate




                                                                 Page 9 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 10 of 23 PageID 10



Quantitative-Research Methods course that Dr. Gibson had taught for more

than three years as an adjunct professor at the University of Central Florida.

       22.   Ms. Schmidt then assigned Dr. Gibson to compile a report on

Flight Standards/Safety/Training Leadership, giving her only survey results

and the names and job titles of the persons involved but withholding from

her:

             a.   how the managers who had requested the report intended

to use it;

             b.   critical data contained in an earlier report, and

             c.   subject-matter knowledge about flight-deck practices, e.g.,

whether reading through a pre-takeoff check list or reciting it from memory

is appropriate, and forbade Dr. Gibson to question anyone who might have

needed answers because the project was confidential.

       23.   During the October 23 meeting between Ms. Schmidt and Dr.

Gibson, Ms. Schmidt told Dr. Gibson that she wanted her to resign—and

when Dr. Gibson said that she would not resign, Ms. Schmidt told her that

she would be fired.

       24.   Shortly thereafter, at a meeting that included Ms. King, Ms.

Schmidt denied the firing threat: “Those words never came out of my

mouth.”

       25.   During the meeting with Ms. Schmidt and Ms. King, Dr. Gibson

began hyperventilating; Ms. King called Dr. Gibson’s husband to come pick



                                                                  Page 10 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 11 of 23 PageID 11



her up and said that she had been prepared to call paramedics if could not

come.

      26.   Ms. Schmidt on October 30 issued a “final guidance” notice, the

penultimate progressive-discipline step at JetBlue, even though Dr. Gibson

had not received any earlier guidances.

      27.   As Dr. Gibson was working on that project November 4, she

overheard a Ms. Carlson, the supervisor, assigning a similar-sounding task

to the 26-year-old Ms. Cramer, whose response was: “I’ll do it. I’ll do it.

And she can get fired.”

      28.   Dr. Gibson’s overhearing of the conversation triggered an

anxiety attack so severe that she was taken to an emergency room and

hospitalized for five days, following which she took sick leave until December

2.

      29.   Prior to that, in addition to subjecting Dr. Gibson to such stress

that Dr. Gibson had to go to Employee Assistance, Ms. Schmidt refused Dr.

Gibson the opportunity to work from home one day a week—which the

younger analysts were all permitted to do.

      30.   Upon Dr. Gibson’s return to work, Ms. Schmidt asked her to do a

report comparing crew member surveys from two different airports, but gave

her reports that (as had been the case in flight-safety project) differed from

the embedded data in the surveys.




                                                                 Page 11 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 12 of 23 PageID 12



       31.   As Dr. Gibson attempted to trouble-shoot the situation to

reconcile the data, Ms. Schmidt demanded that Dr. Gibson simply forward

her work product as is—and then criticized her for its being incomplete.

       32.   Dr. Gibson’s final assignment was a jargon-laden request by Jeff

Kruse, the JetBlue’s Director of Inflight and System Operations Training, to

develop a system for “flagging” students prior to their failing various tests

mandated by the Federal Aviation Administration (“FAA”)—a request to

“show me what success looks like” that was complicated by, among other

things the reality that the FAA, not JetBlue, sets the required scores.

       33.   The quoted criticisms of Dr. Gibson’s analysis for Mr. Kruse did

not evidence a simple subjective disagreement between Mr. Kruse, Aleli

Anderson (one of Mr. Kruse subordinate) and Ms. Schmidt on one side, and

Dr. Gibson on the other, but factual mischaracterizations:

             a.    rather than there being “a rather large disconnect between

Jeff's initial request and what was actually delivered,” as expressed by Ms.

Anderson (after the fact, but not when she previewed the final product

immediately before its presentation), a comparison of Mr. Kruse’s initial

request, Dr. Gibson’s notes from speaking with his team members, and the

analysis that was delivered reveals that Mr. Kruse got exactly what he asked

for;




                                                                 Page 12 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 13 of 23 PageID 13



              b.   any deficiencies in the use of data for the analysis was

caused by Mr. Kruse’s failure to provide it, e.g., scores of all of the students

who had taken the tests that were being analyzed, and

              c.   the characterization of the use of “standard deviation” to

analyze test scores as “rather rudimentary” is one that can be articulated

only by someone with either absolutely no knowledge of the technique or

with an intent to mislead.

      34.     Although JetBlue told the EEOC that Dr. Gibson was terminated

because her “job performance was objectively inferior to every other person

on her team,” substantially younger analysts (all of whom were white and 30

or younger) have demonstrated serious failings, but with lack of any

consequence, e.g.:

              a.   Curran Merrigan:

                   i.     failed (along with Jessica Thompson) to respond to a

request for data by the College of Airports;

                   ii.    submitted a report that was invalid because he used

a linear regression analysis, when what was required was categorical

regression;

                   iii.   had the responsibility during a workshop of

demonstrating a Chi-square analysis—but could not do so;

              b.   Ms. Kramer:




                                                                  Page 13 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 14 of 23 PageID 14



                     i.     had failed to deliver a report to Grayson Cash in the

College of Flight;

                     ii.    was unable to explain to an AME workshop in

November one of the most crucial element of a “t test,” i.e., the standard

error, which Dr. Gibson then explained.

                     iii.   attempted, unsuccessfully, to jump in when Mr.

Merrigan was unable to demonstrate the Chi-square analysis;

            c.       Ms. Thompson, during the same AME certification meeting

at which Ms. Kramer was unable to explain “standard error” and both Mr.

Merrigan and Ms. Kramer were unable to explain a Chi-square analysis,

demonstrated an ignorance of the most critical aspects of correlation

analysis, stating that the correlation coefficient did not convey directionality

because “you can’t tell which of the two variable is doing what”—which is

nonsense, since directionality is a function of the correlation coefficient

having a positive or negative value.

      35.   Following Dr. Gibson’s termination, she was replaced by Ms.

Kramer.

      36.   JetBlue’s treating Dr. Gibson less favorably than it did the

substantially younger, white analysts and replacing her with Ms. Kramer,

raises an inference of unlawful age and race discrimination.

      37.   Dr. Gibson’s age was the reason that prompted JetBlue to:




                                                                    Page 14 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 15 of 23 PageID 15



            a.    not allow her to perform the supervisory duties for which

she was hired;

            b.    set her up for failure by assigning her analyses to do, but

not giving her either correct data or the appropriate statistical tools to

accomplish the mission;

            c.    demand that she hand in unfinished work and then criticize

her for its incompleteness;

            d.    threaten her with termination;

            e.    solicit appraisals of her skills from the junior personnel she

had been hired to supervise, and

            f.    terminate her.

      38.   JetBlue’s actions, more particularly alleged above, constituted

violations of the Age Discrimination in Employment Act, 29 U.S.C. § 621, et

seq., and were done willfully with knowing and or reckless disregard of the

ADEA’s proscriptions.

      39.   As a direct, natural, proximate and foreseeable result of

JetBlue’s actions, Dr. Gibson has lost wages and benefits in the past and will

suffer additional losses in the future.

      40.   JetBlue’s treatment of Dr. Gibson constituted a wilful violation of

the ADEA, entitling Dr. Gibson to recover liquidated damages.

      41.   Dr. Gibson is entitled to be awarded reasonable attorney’s fees

and litigation expenses pursuant to 29 U.S.C. § 626(b).



                                                                  Page 15 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 16 of 23 PageID 16



        WHEREFORE, plaintiff, Lynne M. Gibson, Ph.D., prays that this Court

will:

        a.    issue a judgment that the discrimination against Dr. Gibson by

JetBlue was a violation of Dr. Gibson’s rights against age discrimination

under the ADEA;

        b.    enjoin JetBlue from continuing to violate the Dr. Gibson’s

federally protected rights and to make Dr. Gibson whole through back pay

and reinstatement or, if that is not feasible as a make-whole remedy, an

award of front pay;

        c.    grant Dr. Gibson judgment against JetBlue for back wages and

liquidated damages for the violations of the ADEA;

        d.    grant Dr. Gibson her reasonable attorneys’ fees and litigation

expenses against JetBlue; and

        e.    provide any other relief that is appropriate.

  Count II—Tangible-Detriment Age Discrimination Under the FCRA

        42.   Dr. Gibson realleges and incorporates in Count II the matters set

forth in ¶¶ 1-4, 5(a), 6, 8, 9-36 and 37(f).

        43.   JetBlue’s actions as more particularly alleged above, constituted

tangible-detriment age discrimination, i.e., not allowing Dr. Gibson to do the

job for which she was hired and then firing her, in violation of § 760.10(1),

FLA. STAT.




                                                                  Page 16 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 17 of 23 PageID 17



        44.   As the direct, proximate and foreseeable result of JetBlue’s

actions, Dr. Gibson has lost wages and benefits in the past and will suffer

additional losses in the future and has suffered mental anguish, loss of

dignity, a diminution of her reputation and other intangible injuries for which

she is entitled to compensatory damages.

        45.   The actions of JetBlue and its managing agents constituted a

wilful and wanton violation of Dr. Gibson’s statutory rights against age-

discrimination, entitling her to punitive damages.

        46.   Dr. Gibson is entitled to be awarded reasonable attorneys’ fees and

litigation expenses pursuant to § 760.11(5), FLA. STAT.

        WHEREFORE, plaintiff, Lynne M. Gibson, Ph.D., prays that this Court

will:

        a.    issue a judgment that the discrimination against Dr. Gibson by

JetBlue was a violation of Dr. Gibson’s rights against age discrimination

under the FCRA;

        b.    enjoin JetBlue from continuing to violate the Dr. Gibson’s

statutorily protected rights and to make Dr. Gibson whole through back pay

and reinstatement or, if that is not feasible as a make-whole remedy, award

Dr. Gibson front pay;

        c.    grant Dr. Gibson judgment against JetBlue for back pay,

compensatory damages and punitive damages;




                                                                   Page 17 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 18 of 23 PageID 18



        d.    grant Dr. Gibson her reasonable attorneys’ fees and litigation

expenses against JetBlue; and

        e.    provide any other relief that is appropriate.

 Count III—Hostile-Environment Age Discrimination Under the FCRA

        47.   Dr. Gibson realleges and incorporates in Count III the matters

set forth in ¶¶ 1-4, 5(a), 6, 8, 9, 15, 18-33 and 37.

        48.   JetBlue’s actions as more particularly alleged in ¶¶ 15 and 18-33

above, constituted hostile-environment age discrimination in violation of §

760.10(1), FLA. STAT.

        49.   As the direct, proximate and foreseeable result of JetBlue’s

actions, has suffered mental anguish, loss of dignity, a diminution of her

reputation and other intangible injuries for which she is entitled to

compensatory damages.

        50.   The actions of JetBlue and its managing agents constituted a

wilful and wanton violation of Dr. Gibson’s statutory rights against age-

discrimination, entitling her to punitive damages.

        51.   Dr. Gibson is entitled to be awarded reasonable attorneys’ fees and

litigation expenses pursuant to § 760.11(5), FLA. STAT.

        WHEREFORE, plaintiff, Lynne M. Gibson, Ph.D., prays that this Court

will:




                                                                   Page 18 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 19 of 23 PageID 19



      a.    issue a judgment that the discrimination against Dr. Gibson by

JetBlue was a violation of Dr. Gibson’s rights against age discrimination

under the FCRA;

      b.    enjoin JetBlue from continuing to violate the Dr. Gibson’s

statutorily protected rights;

      c.    grant Dr. Gibson judgment against JetBlue for back pay (for her

leave of absence), compensatory damages and punitive damages;

      d.    grant Dr. Gibson her reasonable attorneys’ fees and litigation

expenses against JetBlue; and

      e.    provide any other relief that is appropriate.

Count IV: 42 U.S.C. § 1981 Tangible-Detriment Race Discrimination

      52.   Plaintiff realleges and incorporates the allegations of ¶¶ 1-4,

5(b) and 9-37, as if fully set forth in this count.

      53.   Dr. Gibson’s race was a substantial or motivating factors in the

decisions to treat Dr. Gibson as Jet Blue did and to eventually terminate her.

      54.   The actions of JetBlue as alleged above had the purpose and

effect of denying Dr. Gibson the same right to make and enforce contracts

as is enjoyed by white citizens, in violation of Dr. Gibson’s rights under

42 U.S.C. § 1981.

      55.   The actions of JetBlue in treating Dr. Gibson as it did and

terminating her as alleged in ¶ 37(f) were intentionally and purposefully

done to Dr. Gibson because of her race.



                                                                  Page 19 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 20 of 23 PageID 20



        56.   As a direct, natural, proximate and foreseeable result of

JetBlue’s actions, Dr. Gibson has suffered past and future pecuniary losses,

emotional pain and suffering, inconvenience, mental anguish, loss of

enjoyment of life, and other non-pecuniary losses.

        57.   The actions of JetBlue exhibited oppression, malice, gross

negligence, willful or wanton misconduct, or a reckless disregard for

plaintiff’s civil rights so as to entitle Dr. Gibson to an award of punitive

damages against JetBLue to punish it for its conduct and to deter it and

others like it from such conduct in the future.

        58.   Dr. Gibson is entitled to recover reasonable attorneys’ fees and

litigation expenses pursuant to 42 U.S.C. § 1988.

        59.   Dr. Gibson, having been discriminated against by JetBlue has

suffered irreparable harm for which there is no plain, adequate or complete

remedy at law.

        60.   The discriminatory actions of JetBLue towards Dr. Gibson, in

which actions higher management participated, of which actions higher

management was aware and which higher management ratified, were in

such reckless disregard of Dr. Gibson’s statutory rights against

discrimination as to entitle her to an award of punitive damages.

        WHEREFORE, plaintiff, Lynne M. Gibson, Ph.D., prays that this Court

will:




                                                                    Page 20 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 21 of 23 PageID 21



       a.    Issue a judgment that the discrimination against plaintiff by

defendant was a violation of her rights under 42 U.S.C. § 1981;

       b.    Enjoin defendant to make plaintiff whole through reinstatement

or, if that is not feasible as a make-whole remedy, to award plaintiff front

pay;

       c.    Grant plaintiff judgment against defendant, including punitive

damages;

       d.    Grant plaintiff his reasonable attorneys’ fees and litigation

expenses against defendant; and

       e.    Provide any other relief that is appropriate.

Count V: 42 U.S.C. § 1981 Hostile-Environment Race Discrimination

       61.   Plaintiff realleges and incorporates the allegations of ¶¶ 1-4,

5(b) and 9, 15, 18-33 and 37(a)-(e), as if fully set forth in this count.

       62.   Dr. Gibson’s race was a substantial or motivating factors in the

decisions to treat Dr. Gibson as Jet Blue did and to eventually terminate her.

       63.   The actions of JetBlue as alleged above had the purpose and

effect of denying Dr. Gibson the same right to make and enforce contracts

as is enjoyed by white citizens, in violation of Dr. Gibson’s rights under

42 U.S.C. § 1981.

       64.   The actions of JetBlue in treating Dr. Gibson as it did and

terminating her as alleged in ¶ 37(f) were intentionally and purposefully

done to Dr. Gibson because of her race.



                                                                   Page 21 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 22 of 23 PageID 22



        65.   As a direct, natural, proximate and foreseeable result of

JetBlue’s actions, Dr. Gibson has suffered past and future pecuniary losses,

emotional pain and suffering, inconvenience, mental anguish, loss of

enjoyment of life, and other non-pecuniary losses.

        66.   The actions of JetBlue exhibited oppression, malice, gross

negligence, willful or wanton misconduct, or a reckless disregard for

plaintiff’s civil rights so as to entitle Dr. Gibson to an award of punitive

damages against JetBLue to punish it for its conduct and to deter it and

others like it from such conduct in the future.

        67.   Dr. Gibson is entitled to recover reasonable attorneys’ fees and

litigation expenses pursuant to 42 U.S.C. § 1988.

        68.   Dr. Gibson, having been discriminated against by JetBlue has

suffered irreparable harm for which there is no plain, adequate or complete

remedy at law.

        69.   The discriminatory actions of JetBLue towards Dr. Gibson, in

which actions higher management participated, of which actions higher

management was aware and which higher management ratified, were in

such reckless disregard of Dr. Gibson’s statutory rights against

discrimination as to entitle her to an award of punitive damages.

        WHEREFORE, plaintiff, Lynne M. Gibson, Ph.D., prays that this Court

will:




                                                                    Page 22 of 23
Case 6:18-cv-01742-PGB-TBS Document 1 Filed 10/15/18 Page 23 of 23 PageID 23



       a.     Issue a judgment that the discrimination against plaintiff by

defendant was a violation of her rights under 42 U.S.C. § 1981;

       b.     Enjoin defendant to make plaintiff whole through reinstatement

or, if that is not feasible as a make-whole remedy, to award plaintiff front

pay;

       c.     Grant plaintiff judgment against defendant, including punitive

damages;

       d.     Grant plaintiff his reasonable attorneys’ fees and litigation

expenses against defendant; and

       e.     Provide any other relief that is appropriate.

                                 Demand for Jury Trial

       Dr. Gibson demands trial by jury on all issues so triable.

                                            Respectfully submitted,

                                            s/ William R. Amlong
                                            WILLIAM R. AMLONG
                                            Florida Bar No.: 470228
                                            WRAmlong@TheAmlongFirm.com
                                            KAREN COOLMAN AMLONG
                                            Florida Bar No.: 275565
                                            KAmlong@TheAmlongFirm.com

                                            AMLONG & AMLONG, P.A.
                                            500 Northeast Fourth Street
                                            Second Floor
                                            Fort Lauderdale, Florida 33301-1154
                                            (954) 462-1983

                                            Attorneys for the Plaintiff,
                                                 Lynne M. Gibson
\\amlong3\cpshare\CPWin\HISTORY\180912_0001\16DD.1A




                                                                       Page 23 of 23
